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   FIDELITY NATIONAL TITLE & ESCROW
   OF HAWAII, INC. and ROMMEL GUZMAN

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada               )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company, et al.         )
                                            )   CERTIFICATE OF SERVICE
                       Plaintiffs,          )
                                            )
           vs.                              )
                                            )
  ABNER GAURINO, et al.                     )
                                            )
                       Defendants.          )
                                            )

                              CERTIFICATE OF SERVICE

           The undersigned hereby certifies that service of a copy of 1) DEFENDANT

  FIDELITY NATIONAL TITLE & ESCROW OF HAWAII, INC.’S RESPONSE

  2049922 v1
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  TO PLAINTIFFS ATOOI ALOHA, LLC, CRAIG B. STANLEY AS TRUSTEE

  FOR THE EDMON KELLER AND CLEAVETTE MAE STANLEY FAMILY

  TRUST, CRAIG B. STANLEY, AND MILLICENT ANDRADE’S FIRST

  WRITTEN INTERROGATORIES TO DEFENDANT FIDELITY NATIONAL

  TITLE & ESCROW OF HAWAII, DATED 8/15/17; and 2) DEFENDANT

  ROMMEL GUZMAN’S RESPONSE TO PLAINTIFFS ATOOI ALOHA, LLC,

  CRAIG B. STANLEY AS TRUSTEE FOR THE EDMON KELLER AND

  CLEAVETTE MAE STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND

  MILLICENT ANDRADE’S FIRST WRITTEN INTERROGATORIES TO

  DEFENDANT ROMMEL GUZMAN, DATED 8/15/17, dated September 22,

  2017, will be duly served on this date on the following parties by United States

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           DATED: Honolulu, Hawaii; September 22, 2017.

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